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                                                             November 29, 2022

VIA E-FILE

The Honorable Lorna G. Schofield
The Honorable Sarah L. Cave
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:          RiseandShine Corp. d/b/a Rise Brewing v. PepsiCo, Inc., 1:21-cv-06324-LGS:
             Letter Motion Seal Rise Brewing’s Motion to Strike Declaration of Thomas
             Britven

Dear Judges Schofield and Cave:

        Pursuant to Section I.D.3 of the Court’s Individual Rules and Procedures for Civil
Cases (“Individual Rules”), Plaintiff RiseandShine Corporation d/b/a Rise Brewing
(“Rise”) respectfully submits this letter motion to file under seal portions of Rise Brewing’s
Letter Motion on its intention to file a Motion to Strike the Declaration of Thomas Britven
(“Britven Declaration”) (Dkt. 381, filed in redacted form at Dkt. 386). Rise Brewing’s letter
motion cites to the Britven Declaration which PepsiCo previously filed under seal1, and
cites to and attaches as exhibits the May 20, 2022 Report of Mr. Britven, and the July 18,
2022 transcript of the Deposition of Thomas Britven, each of which PepsiCo previously
designated as Highly Confidential – Outside Attorneys’ Eyes Only. Rise Brewing
understands that PepsiCo will submit its own letter in support of confidential treatment,
and Rise Brewing respectfully requests that the information contained in Rise Brewing’s
letter motion, and the attached exhibits, be given confidential treatment in the interim.

      I.           Legal Standard

       While federal courts recognize a general common law right of public access to court
records and proceedings, the right of access is not absolute and courts have discretion to

1
  PepsiCo did not request permission from the Court to file the Britven Declaration under
seal or in a redacted form. See Dkt. 377 (failing to mention or justify the need to seal the
Britven Declaration). However, as Pepsi did file the Britven declaration under seal, Rise
Brewing includes it in this letter motion.
Alston & Bird LLP                                                                                                                        www.alston.com

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deny such public access where appropriate. Nixon v. Warner Commc’ns, Inc., 435 U.S.
589, 597-99 (1978)). “To determine whether documents should be placed under seal, a
court must balance the public’s interest in access to judicial documents against the privacy
interests of those resisting disclosure.” In re Utica Mut. Ins. Co. v. INA Reinsurance Co.,
468 F. App’x 37, 39 (2d Cir. 2012) (citing Lugosch v. Pyramid Co. of Onondaga, 435 F.3d
110, 119-20 (2d Cir. 2006)).

        Court documents may be sealed to avert “[p]otential damage from the release of
sensitive business information” and protect from disclosure certain information that may
harm a business’s ability to compete in the future. Bergen Brunswig Corp. v. Ivax Corp.,
No. 97 Civ. 2003, 1998 WL 113976, at *3 (S.D.N.Y. Mar. 12, 1998) (collecting cases);
Std. Inv. Chtd., Inc. v. Fin. Indus. Regulatory Auth., Ind., 347 F. App’x 615, 617 (2d Cir.
2009) (affirming district court’s sealing on grounds that the party’s “interest in protecting
confidential business information outweighs the qualified First Amendment presumption
of public access”).

   II.     Sealing Justification

        PepsiCo has designated its revenues, margins, expenses, and financial information
reflected in the Britven Declaration, the May 20, 2022 Report of Mr. Britven, and the July
18, 2022 transcript as Highly Confidential, Outside Attorneys’ Eyes Only material, and
alleges that the same is the highly confidential business information of PepsiCo. Courts
recognize that these types of materials are appropriately maintained under seal. See, e.g.,
Encyclopedia Brown Prods., Ltd. v. Home Box Office, Inc., 26 F. Supp. 2d 606, 612-14
(S.D.N.Y. 1998) (finding that confidential business information should be sealed because
it “provide[s] valuable insights into a company’s current business practice”). This district
specifically recognizes that “forecasts, sales, inventory management, profit margins, etc.”
warrant confidential treatment. Avocent Redmond Corp. v. Raritan Ams., Inc., No. 10 CIV.
6100 (PKC), 2012 U.S. Dist. LEXIS 107801, 2012 WL 3114855, *16 (S.D.N.Y. July 31,
2012). According to Pepsico, its financial information “is properly sealed because it is
highly sensitive information which risks causing PepsiCo harm if made known to
PepsiCo’s competitors.” Dkt. 377. Rise Brewing understands that PepsiCo thus contends
this information should therefore remain sealed.

      A list of counsel who should be granted access to the sealed material is listed in
Appendix 1. Rise Brewing has served the letter on PepsiCo’s counsel via ECF
contemporaneously with this filing.

                                              Respectfully Submitted,

                                              /s/ Emily Chambers Welch
                                              Emily Chambers Welch
                                              Counsel for Plaintiff RiseandShine
                                              Corporation d/b/a Rise Brewing
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                  Appendix 1: List of Counsel Designated to Access
                    “Outside Attorneys’ Eyes Only” Information

All counsel of record may have access to the filings:

Counsel for Plaintiff RiseandShine Corporation d/b/a Rise Brewing
Jason Demian Rosenberg
Emily Chambers Welch
Holly Hawkins Saporito
Neal Joseph McLaughlin
Paul J. Tanck
Christopher McArdle
Shaleen Patel

Counsel for Defendant PepsiCo, Inc.
Allison W. Buchner
Dale Margaret Cendali
Diana Torres
Lauren Schweitzer
Maria Monica Beltran
Paul J. Reilly
Susan Cannon Kennedy
Monica H. Smith
Saghar Esfandiarifard
Luke Budiardjo
